881 F.2d 1070Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Aron Adolphus COWELL, Defendant-Appellant.
    No. 89-7137.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 28, 1989.Decided July 25, 1989.
    
      Aron Adolphus Cowell, appellant pro se.
      Thomas Oliver Mucklow, David Earl Godwin, Office of the United States Attorney, for appellee.
      Before DONALD RUSSELL, K.K. HALL, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Aron Adolphus Cowell appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Cowell, CR No. 86-142 (N.D.W.Va. Apr. 7, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    